

















NUMBER 13-09-00332-CR


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

HAROLD CORBITT, 	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

_____________________________________________________________


On appeal from the 214th District Court 


of Nueces County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion Per Curiam


	Appellant, Harold Corbitt, attempted to perfect an appeal from a conviction for
continual sexual abuse.  We dismiss the appeal for want of jurisdiction.

	Sentence in this matter was imposed on February 4, 2009.  No motion for new trial
was filed.  Notice of appeal was filed on May 18, 2009.  On June 16, 2009, the Clerk of this
Court notified appellant that it appeared that the appeal was not timely perfected. 
Appellant was advised that the appeal would be dismissed if the defect was not corrected
within ten days from the date of receipt of the Court's directive.  Appellant has not
responded to this notice.   

	Texas Rule of Appellate Procedure 26.2 provides that an appeal is perfected when
notice of appeal is filed within thirty days after the day sentence is imposed or suspended
in open court unless a motion for new trial is timely filed.  Tex. R. App. P. 26.2(a)(1).  The
time within which to file the notice may be enlarged if, within fifteen days after the deadline
for filing the notice, the party files the notice of appeal and a motion complying with Rule
10.5(b) of the Texas Rules of Appellate Procedure.  See id. 26.3. 

	This Court's appellate jurisdiction in a criminal case is invoked by a timely filed
notice of appeal.  Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).  Absent a
timely filed notice of appeal, a court of appeals does not obtain jurisdiction to address the
merits of the appeal in a criminal case and can take no action other than to dismiss the
appeal for want of jurisdiction.  Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App.
1998).  

	Appellant's notice of appeal, filed more than 100 days after sentence was imposed,
was untimely, and accordingly, we lack jurisdiction over the appeal.  See Slaton, 981
S.W.2d at 210.  Appellant may be entitled to an out-of-time appeal by filing a
post-conviction writ of habeas corpus returnable to the Texas Court of Criminal Appeals;
however, the availability of that remedy is beyond the jurisdiction of this Court.  See Tex.
Code Crim. Proc. Ann. art. 11.07, § 3(a) (Vernon 2005); see also Ex parte Garcia, 988
S.W.2d 240 (Tex. Crim. App. 1999).

	The appeal is DISMISSED FOR WANT OF JURISDICTION. 										PER CURIAM

Do not publish.  

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and 

filed this the 13th day of August, 2009. 







